USDC IN/ND case 3:23-cv-00918-CCB-SJF   document 1-4   filed 10/18/23   page 1 of 5
USDC IN/ND case 3:23-cv-00918-CCB-SJF   document 1-4   filed 10/18/23   page 2 of 5
USDC IN/ND case 3:23-cv-00918-CCB-SJF   document 1-4   filed 10/18/23   page 3 of 5
USDC IN/ND case 3:23-cv-00918-CCB-SJF   document 1-4   filed 10/18/23   page 4 of 5
USDC IN/ND case 3:23-cv-00918-CCB-SJF   document 1-4   filed 10/18/23   page 5 of 5
